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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                  4:19CR3126

        vs.
                                                                     ORDER
TITUS J. MILLER,

                       Defendant.


       Pending before me is a findings and recommendation from a magistrate judge that
recommends that I accept the defendant’s plea of guilty. There is no objection to the
findings and recommendation. After careful consideration and de novo review,

       IT IS ORDERED that:

       1.     The findings and recommendation (Filing No. 47) is accepted.

       2.     The defendant is found guilty. The plea is accepted. The court decides that
the plea of guilty is knowing, intelligent, voluntary, and that there is a factual basis for the
plea.

       3.     If there is a plea agreement, I defer acceptance of the plea agreement until
the time of sentencing pursuant to Rule 11(c)(3). Unless otherwise stated at the time of
sentencing, the plea agreement will be deemed accepted upon the pronouncement of the
judgment and sentence.

       4.     This case shall proceed to sentencing.

       Dated this 17th day of August, 2020.

                                                   BY THE COURT:\


                                                   Richard G. Kopf
                                                   Senior United States District Judge
